                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

GLOBAL FORCE                                     )
ENTERTAINMENT, INC. and                          )
JEFFREY JARRETT                                  )
                                                 )   CIVIL ACTION NO. 3:18-cv-00749
        Plaintiffs/Counter-Defendants,           )
                                                 )   CHIEF JUDGE CRENSHAW
   v.                                            )   MAGISTRATE BARBARA D. HOLMES
                                                 )
ANTHEM WRESTLING                                 )   JURY DEMAND
EXHIBITIONS, LLC,                                )
                                                 )
        Defendant/Counter-Plaintiff.             )


   PLAINTIFFS’ MOTION TO FILE UNDER SEAL PLAINTIFFS’ RESPONSE IN
 OPPOSITION TO DEFENDANT’S MOTION IN LIMINE TO EXCLUDE EVIDENCE
           OF ANTHEM SPORTS AND ENTERTAINMENT CORP’S
         CORPORATE STRUCTURE AND FINANCIAL CONDITION


        Pursuant to paragraph 17 of the Court’s Stipulated Protective Order entered by the Court

(Dkt. 49), Plaintiffs Global Force Entertainment, Inc. (“GFE”) and Jeffrey Jarrett respectfully

move for leave to file under seal documents filed in support of Plaintiffs’ Response In Opposition

To Defendant’s Motion In Limine To Exclude Evidence Of Anthem Sports And Entertainment

Corp’s Corporate Structure And Financial Condition.

        In order for the Court to make the requisite findings and conclusions mandated by the Sixth

Circuit, “[t]he proponent of sealing must provide compelling reasons to seal the documents and

demonstrate that the sealing is narrowly tailored to those reasons—specifically by ‘analyz[ing] in

detail, document by document, the propriety of secrecy, providing reasons and legal citations.’”

Beauchamp v. Fed. Home Loan Mortg. Co., 628 Fed. App’x 202, 207 (6th Cir. 2016) (quoting

Shane Grp, Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d 299 (6th Cir. 2016)). Generally,




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“only trade secrets, information covered by a recognized privilege (such as the attorney-client

privilege), and information required by statute to be maintained in confidence . . . is typically

enough to overcome the presumption of [public] access.” Rudd Equip. Co., Inc. v. John Deere

Construction & Forestry Co., 834 F.3d 589, 594-95 (quoting Baxter Int’l, Inc. v. Abbott Labs., 297

F.3d 544, 546 (7th Cir. 2002)).

       This Motion is made on the grounds that Exhibits 1 and 2 to the Response have been

previously designated by Defendant as “Confidential” pursuant to the Stipulated Protective Order.

(Dkt. 49). Additionally, the testimony in Exhibits 3-7, as well as the text of the Response itself,

pertains to the information or documents previously designated by Defendant as “Confidential.”

       The Stipulated Protective Order requires a party receiving documents designated as

confidential to keep those documents confidential, and to the extent any such document or

information derived from those documents is filed with the Court, to file it in compliance with

Section 5.07 of the Administrative Practices and Procedures for Electronic Case Filing for the

United States District Court for the Middle District of Tennessee. (Dkt. 49). Accordingly, GFE

hereby requests permission to file the exhibit under seal out of an abundance of caution.

       Pursuant to Rule 7.01(a)(1), on June 12, 2020, Plaintiffs’ counsel contacted Defendant’s

counsel to confer on the Motion to File Under Seal. Defendant’s counsel did not oppose the

Motion.

       WHEREFORE, Plaintiffs respectfully request that the Court grant leave to seal the above

referenced exhibits. A copy of the exhibits to be filed under seal will be filed contemporaneously

herewith under seal.



Dated: June 12, 2020                         Respectfully submitted,

                                             /s/ Samuel F. Miller



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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of June 2020, the foregoing document was filed via
ECF:

       Paige W. Mills
       Ashleigh D. Karnell
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                                                   /s/ Samuel F. Miller
                                                   Samuel F. Miller




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